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                                                           February 22, 2021
VIA ECF
Honorable Mark Falk, U.S.M.J.
United States District Court
Martin Luther King, Jr. Fed. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101-0999

       Re:    Allergan Sales LLC v. Sandoz, Inc. et al.
              Civil Action No. 17-10129

Dear Judge Falk:

         This firm, together with Schiff Harden, LLP, represents Defendants Sandoz Inc. and Alcon
Laboratories (collectively, “Sandoz”) in the above-captioned matter. We write to inform the Court that
the parties have agreed to conduct the deposition of Sandoz’s expert, Dr. Mansoor Khan on March 4, 2021
– after the February 22 expert discovery deadline – due to an unforeseen injury to Dr. Khan. The parties
have agreed that the expert discovery deadline shall otherwise remain unchanged.

       Should this scheduling adjustment meet with Your Honor’s approval, we respectfully request that
the Court “So Order” this letter. We thank the Court for its attention to this matter.

                                                           Respectfully submitted,

                                                           /s/ Eric I Abraham
                                                           ERIC I. ABRAHAM

Cc: Counsel of Record via ECF


It is SO ORDERED.




                                            2/23/21
Hon. Mark Falk, Chief U.S.M.J.
